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                            Exhibit 36
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                                   DECLARACION DE
         Yo,                          declaro y digo lo siguiente:
            1. Hago la presente de conocimiento personal. Si me llaman de testigo en el
  litigio actual , declararia competentemente a lo siguiente.
         2. Tengo 29 afios de edad. Soy el hermano de                                      y
        .
         3. Vi vo con mi hermana              , su hija         , una compafiera de casa,
            , y su hijo,          . Somos todos que vivimos en la casa.
         4. A fines de marzo del 2018 , lleg6 Brenda, una trabajadora social , para
  realizar un estudio de nuestra casa. Cuando lleg6 Brenda, el hennano de                      ,
             estaba de visita.           antes vivia en la casa, pero ya habia cambiado para
  otra casa cuando lleg6 Brenda por primera vez. Mi hermana                      y yo le
  avisamos a Brendo que                 ya no vivia en la casa.
            5. Como menos de un mes, Brenda volvi6 a la casa otra vez de sorpresa.
   Cuando lleg6 ella, yo estaba dormido, asi que tarde un poco en abrir. Cuando abre
   vi a Brenda y a su estudiante ya saliendo. Yo llame a ella que regresara, y entraron.
            habia llegado para ver a su sobrino y a su hermana. Los tres estaban en la
   recamera de             No me pregunt6 Brenda si                  estaba de visita o si vivia en
   la casa. Se quedaron Brenda y la estudiante mas o menos media hora, y se fueron.
            6. De verdad ni            ni ningun adulto mas vi ve en mi casa aparte de
   nuestra hermana            ,           y yo.
            7. Hablamos mi hennanito               y yo como una vez por semana. Me ha
   dado cuenta que                ya esta muy cansado de estar detenido y que extrafia a su
   familia mucho, y que ya esta deprimido. Para mi , es un cambio triste porque desde
   cuando se cay6 preso,                ha cambiado mucho. Cuando le cambiaron de
   trabajadora de! caso,               se puso histerico, que nosotros escuchamos en su voz,
   aunque por telefono. Opino que lo mejor para                   seria vivir con nosotros: su
   hermana           , y yo, su hermano                   Espero que sea pronto. Por mi parte,



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  creo que esta preso por ninugun motivo, y el no tiene la culpa de todo lo que haya
  vivido. Creo que no es justo para el , siendo un nifio estar preso, no tiene mama ni
  papa, pero tiene a sus hermano que lo quieren y lo aman mucho, y que han hecho
  todo lo posible para tenerlo con nosotros.
        Declaro bajo protesta de decir la verdad y pena de perjurio que toda la
  infonnaci6n que aquf he proporcionado es correcta y completa, consciente de las
  consecuencias legales de declarar con falsedad ante la autoridad.
        Hecho el dia 19 dejulio 2018, en Los Angeles, California.




        III




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            I, Carlos Holguín, declare and say as follows:
            1. I speak English and Spanish fluently.
            2. The following is a true and correct translation of the annexed Declaration
   of                     :
                                              ******
                                DECLARATION OF
            I,                    , declare and say as follows:
            1. I execute the present [declaration] from personal knowledge. If I am
   called as a witness in the present case, I would testify competently to the
   following.
            2. I am 29 years old. I am the brother of                             and
            .
            3. I live with my sister        , her daughter           , a roommate,           , and
   her son,          . We are all who live in the house.
            4. At the end of March, 2018, Brenda, a social worker, came to our home.
   When Brenda arrived,                  brother,            was visiting.        used to live in
   the house, but he had already moved to another house when Brenda came for the
   first time. My sister            and I told Brenda that          no longer lived in the
   house.
            5. Somewhat less than a month later, Brenda returned to the house for a
   surprise visit. When she arrived, I was sleeping, and I therefore delayed a little in
   opening the door. When I opened the door, I saw Brenda and her student already
   leaving. I called to her to come back, and they came in.                  had come to see his
   nephew and his sister. The three of them were in                    bedroom. Brenda did
   not ask me if              was visiting or if he lived in the house. Brenda and the student
   stayed for about half an hour and then left.
            6. In truth neither          nor any other adult lives in our house besides my
   sister        ,            and myself.

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         7. My little brother         and I talk about once a week. I have noticed that
          is now very tired of being detained and that he much misses his family, and
   that he is now depressed. To me, this is a sad change because              has changed a
   lot since he being detained. When they changed his case worker,               became
   hysterical, which we could hear in his voice even over the telephone. In my
   opinion,          would be better off were he living with us: his sister       , and
   me, his brother              I hope that will happen soon. For my part, I believe that
   he is a prisoner for no reason, and he is not to blame for all that he has gone
   through. I do not think it right that he, being a child, should be detained. [He] has
   no mother or father, but he has his siblings who want him and love him very much
   and have done everything possible to have him live with us.
         I declare under obligation to tell the truth and penalty of perjury that all the
   information I have provided here is correct and complete, being aware of the legal
   consequences of declaring falsely before authority.
         Done this 19th day of June, 2018, at Los Angeles, California.


                                               /s/ _________________________


                                       ********
         I declare under penalty of perjury that the foregoing is true and correct.
         Executed this 30th day of July, 2018, at Santa Clarita, California.


                                                ___________________________
                                               Carlos Holguín




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